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16                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
                                 WESTERN DIVISION
18
       BROIDY CAPITAL MANAGEMENT                                Case No.: 2:18-CV-02421-JFW
19     LLC and ELLIOTT BROIDY,                                  The Honorable John F. Walter
20           Plaintiffs,                                        REPLY IN FURTHER SUPPORT OF
21           v.                                                 GLOBAL RISK ADVISORS LLC’S
       STATE OF QATAR, STONINGTON                               AND KEVIN CHALKER’S MOTION
22                                                              TO DISMISS THE FIRST
       STRATEGIES LLC, NICOLAS D.
23     MUZIN, GLOBAL RISK ADVISORS                              AMENDED COMPLAINT
       LLC, KEVIN CHALKER, DAVID                                Hearing Date: Aug. 27, 2018
24
       MARK POWELL, MOHAMMED BIN                                Time: 1:30 PM
25     HAMAD BIN KHALIFA AL THANI,                              Courtroom: 7A
26
       AHMED AL-RUMAIHI, and DOES 1-10,                         Judge: John F. Walter
             Defendants.                                        Am. Complaint Filed: May 24, 2018
27

28                  GRA DEFENDANTS’ REPLY ISO MOTION TO DISMISS PURSUANT TO RULES 12(b)(1), 12(b)(2),
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 1                                                  ARGUMENT
 2     I.    The GRA Defendants Are Immune From Suit
 3           A.     Derivative Sovereign Immunity
 4           Plaintiffs’ argument that the GRA Defendants lack “immunity under the FSIA”
 5     (Dkt. 195 at 3) is a red herring. The GRA Defendants do not argue that they are a
 6     “foreign state,” organs of a foreign state, nor do they contend that they are “owned by
 7     Qatar.” Id. Rather, the GRA Defendants first argue that they are entitled to foreign
 8     sovereign immunity that derives from Qatar’s sovereign immunity, which this Court has
 9     now recognized. (Dkt. 197 at 11). The existence of this derivative immunity is “well-
10     settled.” See, e.g., Butters v. Vance Int’l, Inc., 225 F.3d 462, 466 (4th Cir. 2000); see also
11     Alicog v. Kingdom of Saudi Arabia, 79 F.3d 1145 (5th Cir. 1996).
12           Plaintiffs overread Samantar v. Yousuf, 560 U.S. 305 (2010) (“Samantar I”), in
13     arguing that the doctrine of derivative sovereign immunity has been overruled. Dkt. 195
14     at 4. Samantar dealt only with a “narrow question”: whether a “foreign state” under the
15     the FSIA included individuals. 560 U.S. at 308. The Court held that it did not. Of
16     course, this is not the same as holding that individuals or entities can no longer receive
17     derivative immunity from a foreign state. Indeed, the Samantar court explained that
18     “some actions against an official in his official capacity should be treated as actions
19     against the foreign state itself, as the state is the real party in interest.” Id. at 325. This
20     is clearly one such action.
21           Post-Samantar, courts continue to recognize the doctrine of derivative foreign
22     sovereign immunity. For example, the plaintiffs in Odhiambo v. Republic of Kenya, 930
23     F. Supp. 2d 17 (D.D.C. 2013), aff’d, 764 F.3d 31 (D.C. Cir. 2014), made the very same
24     argument—that Samantar abrogated derivative foreign sovereign immunity against
25     foreign officials of the Kenyan government—that Plaintiffs make here. Id. at 34. The
26     Court there rejected the argument and held that the individual defendants were
27     derivatively immune under the FSIA. Id. Likewise, other courts have continued to
28                    GRA DEFENDANTS’ REPLY ISO MOTION TO DISMISS PURSUANT TO RULES 12(b)(1), 12(b)(2),
                                 AND 12(b)(6) OF THE FEDERAL RULES OF CIVIL PROCEDURE
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 1     follow and cite Butters, even after Samantar was decided. See Moriah v. Bank of China
 2     Ltd., 107 F. Supp. 3d 272, 276 n.25, 277 n.34 (S.D.N.Y 2015) (citing Samantar and
 3     quoting Butters to explain that it is “well-settled law that contractors and common law
 4     agents acting within the scope of their employment . . . have derivative sovereign
 5     immunity”); Eringer v. Principality of Monaco, No. CV 10-1803, 2011 WL 13134271, at
 6     *6 (C.D. Cal. Aug. 23, 2011) (citing Butters favorably).
 7           Plaintiffs’ contention that the State Department “flatly rejects” the argument that
 8     U.S. citizens are eligible for derivative sovereign immunity (Dkt. 195 at 5) is flat wrong.
 9     Courts have held that U.S. citizens and residents are entitled to derivative foreign
10     sovereign immunity. For example, in Alicog, the Fifth Circuit upheld a district court
11     ruling that a U.S. citizen enjoyed immunity when following the commands of a foreign
12     sovereign employer. 79 F.3d at 1150 . Likewise, the defendant in Butters, which was
13     held to be immune under derivative sovereign immunity, was a U.S. corporation
14     headquartered in Virginia. 225 F. 3d at 463. Plaintiffs do not point to any statement
15     from the State Department that is to the contrary.
16           B.     Foreign Official Immunity
17           Plaintiffs fare no better in arguing that the GRA Defendants are not entitled to
18     foreign official immunity. (Dkt. 195 at 5-8). As the Court in Samantar held, even if an
19     individual does not receive derivative sovereign immunity under the FSIA, it “may still
20     [receive] foreign sovereign immunity under the common law.” Id. at 324. And under the
21     common law, it is “well settled that sovereign immunity exist[s] for any . . . [alleged]
22     agent of the state with respect to acts performed in his official capacity if the effect of
23     exercising jurisdiction would be to enforce a rule of law against the state.” Belhas v.
24     Ya’alon, 515 F.3d 1279, 1285 (D.C. Cir. 2008) (emphasis added); Restatement (Second)
25     of Foreign Relations Law § 66 (1965) (extending immunity of a foreign state to “agent of
26     the state” for acts performed in official capacity); Mireskandari v. Mayne, No.
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 1     CV123861JGBMRWX, 2016 WL 1165896, at *16 (C.D. Cal. Mar. 23, 2016). The
 2     reasons for this rule are clear: “[i]mmunity is extended to an individual [] when acting on
 3     behalf of the state because actions against those individuals are the practical equivalent of
 4     a suit against the sovereign directly.” Hilao v. Estate of Marcos, 25 F.3d 1467, 1472 (9th
 5     Cir. 1994).
 6           Plaintiffs have alleged that the GRA Defendants were agents of Qatar and acting
 7     within the scope of their agency, FAC ¶¶ 1, 6, 93, which is dispositive and compels a
 8     finding of foreign official immunity. See, e.g., Farhang v. Indian Inst. of Tech., 655 F.
 9     App’x 569, 571 (9th Cir. 2016); Lewis v. Mutond, 258 F. Supp. 3d 168, 173-174 (D.D.C.
10     2017). In the hopes of undermining the GRA Defendants’ entitlement to immunity,
11     Plaintiffs make a series of irrelevant or inaccurate attacks on the scope of the doctrine.
12     These efforts fall short.
13           First, as Plaintiffs concede (Dkt. 195 at 6), “there is no [] constitutional basis
14     suggesting that the views of the Executive Branch control questions of foreign official
15     immunity.” Yousuf v. Samantar, 699 F.3d 763, 773 (4th Cir. 2012); Dogan v. Barak, No.
16     2:15-cv-08139, 2016 WL 6024416, at *9 (C.D. Cal. Oct. 13, 2016) (same). Instead, this
17     Court has “authority to decide for itself whether all the requisites for such immunity
18     exist[].” Samantar I, 560 U.S. at 311-12. In making that decision, the Court is guided by
19     whether “the ground of immunity is one which it is the established policy of the State
20     Department to recognize.” Id. at 312.
21           Here, the State Department has repeatedly recognized that agents of a foreign
22     sovereign are entitled to foreign official immunity when acting within the scope of their
23     official duties. See, e.g., Rosenberg v. Lashkar-e-Taiba, 980 F. Supp. 2d 336, 342
24     (E.D.N.Y. 2013); Rishikof v. Mortada, 70 F. Supp. 3d 8, 12 (D.D.C. 2014). Plaintiffs do
25     not dispute this longstanding position of the State Department. Instead, they seek to
26     create out of thin air what they claim to be a “longstanding” rule that U.S. citizens are
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                      GRA DEFENDANTS’ REPLY ISO MOTION TO DISMISS PURSUANT TO RULES 12(b)(1), 12(b)(2),
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 1     categorically ineligible for foreign official immunity. Dkt. 195 at 6-7. In support of this
 2     fictional “rule,” Plaintiffs quote in a selective and misleading fashion from a few State
 3     Department filings in other cases. Plaintiffs rely primarily on the statement of interest
 4     filed by the State Department in the Samantar case. Tellingly, Plaintiffs do not actually
 5     quote or cite to the State Department’s actual statement in that case, which provided that
 6     because “[a] foreign official’s immunity is for the protection of the foreign state . . . a
 7     former foreign official’s decision to permanently reside in the United States is not, in
 8     itself, determinative of the former official’s immunity from suit for acts taken while in
 9     office.” Br. for the United States as Amicus Curiae Supporting Appellees, Yousuf v.
10     Samantar, No. 11-1479, 2011 WL 5040507, at *6 (4th Cir. Oct. 24, 2011). In addition,
11     the State Department made clear that its opposition to immunity in that case was rooted
12     in the “absence of a recognized government to assert immunity.” Id. 1 There is no such
13     concern here as Qatar is not only a recognized government, but this Court has found that
14     it is entitled to sovereign immunity in this case.
15           Second, Plaintiffs attempt to undermine the GRA Defendants’ entitlement to
16     immunity by arguing that because the GRA Defendants were allegedly hired by Qatar
17     and allegedly were paid for their work, the commercial activity exception to common law
18     foreign official immunity applies. Dkt. 195 at 7. This Court has already held to the
19     contrary. Dkt. 198 at 11 (citing cases). Because the alleged cyber-attacks directed by
20     Qatar are the core of Plaintiffs’ allegations against the GRA Defendants, the commercial
21     activity exception to foreign sovereign immunity does not apply.
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23     1
        Plaintiffs engage in the same deception by selectively quoting from the State
24     Department’s statement of interest in Ahmed v. Magan, No. 2:10-cv-00342-GCS-MRA
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       (S.D. Ohio. Mar. 15, 2011), ECF No. 45. Dkt. 195 at 7 n.5. There, as was true in
       Samantar, the State Department made clear that its position regarding the immunity of
26     U.S. residents was limited to circumstances where there was an “absence of a recognized
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       government.” Id. at 9.
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 1   II.   There Is No Personal Jurisdiction Over The GRA Defendants
 2         While Plaintiffs are correct that the purposeful direction test determines whether
 3   the Court has personal jurisdiction over the GRA Defendants (Dkt. 195 at 9), in
 4   attempting to argue that they have satisfied this test, Plaintiffs mischaracterize both the
 5   governing law and the FAC’s allegations. At bottom, Plaintiffs seek to establish personal
 6   jurisdiction on the mere happenstance that they and their computer servers reside in
 7   California. This fails to carry their burden.
 8         The Court correctly held that Plaintiffs allege conduct that originated in Qatar and
 9   that the alleged hack may have occurred in Vermont, (Dkt. 195 at 7), while the remainder
10   of the FAC consists of “unsupported conclusory allegations.” Id. Even if credited—and
11   to be clear, these unsupported conclusory allegations should not be credited (see Dkt.
12   179-1 at 10)—they would still not support personal jurisdiction over the GRA
13   Defendants. Under the Supreme Court’s decision in Walden v. Fiore, Plaintiffs are
14   required to establish suit-related conduct by the Defendants in California. 571 U.S. 277,
15   284 (2014). There are no such allegations in the FAC.
16         In their opposition, Plaintiffs rely heavily on Morrill v. Scott Fin. Corp., 873 F.3d
17   1136 (9th Cir. 2017) (Dkt. 195 at 9-10), to suggest that the residence of the Plaintiffs in
18   California suffices for personal jurisdiction purposes. This gets Morrill completely
19   backwards. Morrill not only states that “when a defendant’s relationship to the forum
20   state arises from the fortuity of where plaintiff resides . . . it does not provide the basis for
21   specific jurisdiction there,” 873 F.3d at 1148, it also holds that the allegations in that case
22   failed to establish personal jurisdiction over the defendants because “Plaintiffs were
23   required to make a prima facie showing that Defendants’ alleged actions were directed at
24   Arizona, not just . . . individuals who resided there.” Id. at 1148-49 (emphasis added).
25   And while Plaintiffs suggest that the GRA Defendants mischaracterized the Supreme
26   Court’s holding in Walden (Dkt. 195 at 10), Morrill correctly states—as the GRA
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                    GRA DEFENDANTS’ REPLY ISO MOTION TO DISMISS PURSUANT TO RULES 12(b)(1), 12(b)(2),
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 1   Defendants argued—that Walden held that where the “forum state was only implicated by
 2   the happenstance of Plaintiffs’ residence[,]” there can be no specific personal jurisdiction.
 3   Morrill, 873 F.3d at 1146.
 4         Plaintiffs appear to conflate the alleged happenstance that they and their servers
 5   reside in California with allegations that the GRA Defendants had knowledge that the
 6   Plaintiffs and their servers reside in California and took direct action in light of that
 7   knowledge. Only the latter may support purposeful direction. See, e.g., Mireskandari v.
 8   Mayne, 2016 WL 1165896, at *20; Republic of Kazakhstan v. Ketebaev, No. 17-CV-
 9   00246-LHK, 2018 WL 2763308, at *6 (N.D. Cal. June 8, 2018).
10         This critical distinction also explains why the out-of-district cases Plaintiffs cite to
11   contend that hacking into a computer in the forum state is by itself sufficient grounds to
12   establish personal jurisdiction are unhelpful to Plaintiffs. For example, Plaintiffs cite
13   NetApp, Inc. v. Nimble Storage, Inc., 41 F. Supp. 3d 816 (N.D. Cal. 2014). Dkt. 195 at
14   11. However, in NetApp, the plaintiff “document[ed] [defendant’s] access to NetApp’s
15   computers and notices shown to users of those computers, further indicating that
16   [defendant] purposefully accessed systems in California after receiving notice of where
17   those systems were located.” 41 F. Supp. 3d at 825 (emphasis added). Similarly, in
18   MacDermid, Inc. v. Deiter, 702 F.3d 725 (2d Cir. 2012) (cited Dkt. 195 at 11 n.11), the
19   defendant “was aware” that plaintiffs’ servers were stored “in Waterbury, Connecticut.”
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                    GRA DEFENDANTS’ REPLY ISO MOTION TO DISMISS PURSUANT TO RULES 12(b)(1), 12(b)(2),
28                             AND 12(b)(6) OF THE FEDERAL RULES OF CIVIL PROCEDURE
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 1   Id. at 730.2 Plaintiffs do not allege—even on “information and belief”—that the GRA
 2   Defendants had such knowledge.
 3         Furthermore, Plaintiffs do not even attempt to rebut the GRA Defendants’
 4   argument made in their opening brief (Dkt. 172-1 at 12-13) that there is no personal
 5   jurisdiction because Plaintiffs have failed to allege facts that would support a conclusion
 6   that they would not have been injured but for the GRA Defendants’ alleged conduct in
 7   California. Rio Props. Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1021 (9th Cir. 2002).
 8   Because Plaintiffs bear the burden of establishing this element of the purposeful direction
 9   test, Axiom Foods, Inc. v. Acerchem UK Ltd., 874 F.3d 1064, 1068 (9th Cir. 2017), and
10   have not even attempted to do so, personal jurisdiction has not been established.
11   II.   The FAC Fails To State a Claim Under Rule 8
12         A.     Plaintiffs’ Conclusory Allegations Should Not Be Credited
13         As a threshold matter, Plaintiffs mischaracterize the GRA Defendants’ argument
14   regarding why the FAC fails to state a claim pursuant to Rule 8. For purposes of
15   Plaintiffs’ Rule 8 argument, it is not the Plaintiffs’ near-exclusive reliance on information
16   and belief allegations, standing alone, which dooms the FAC. Rather, it is the conclusory
17   nature of those information and belief allegations, coupled with the absence of any
18   specific factual allegations establishing the plausibility of the GRA Defendants’ role in
19   the alleged conspiracy, that is fatal to Plaintiffs’ claims.
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21   2
       The existence of relationships between the Plaintiff and defendant that would cause the
22   defendant to know the location of the hacked servers also distinguish Vivint, Inc. v.
23
     Bailie, No. 2:15-CV-685-DAK, 2017 WL 396655, at *3 (D. Utah Jan 30, 2017); Christie
     v. National Inst. for Newman Studies, 258 F. Supp. 3d 494 (D.N.J. 2017); Gridiron
24   Mgmt. Grp. LLC v. Wranglers, No. 8:12-CV-3128, 2012 WL 5187839, at *4-*5 (D. Neb.
25
     Oct. 18, 2012); United States Chess Fed’n, Inc. v. Polgar, No. C 08-05126 MHP, 2009
     WL 3334882, at *8 (N.D. Cal. Oct. 14, 2009); and Rhapsody Solutions, LLC v. Cryogenic
26   Vessel Alternatives, Inc., No. H-12-1168, 2013 WL 820589, at *5 (S.D. Tex. Mar. 5,
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     2013) from the facts here.
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                    GRA DEFENDANTS’ REPLY ISO MOTION TO DISMISS PURSUANT TO RULES 12(b)(1), 12(b)(2),
28                             AND 12(b)(6) OF THE FEDERAL RULES OF CIVIL PROCEDURE
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 1         Plaintiffs appear to argue that there has been a change in law in the Ninth Circuit to
 2   now permit the extensive use of information-and-belief allegations. Dkt. 195 at 6. This
 3   argument both misses the point and mischaracterizes Soo Park v. Thompson, 851 F.3d
 4   910 (9th Cir. 2017). Soo Park did not change the law. Courts have long recognized that
 5   allegations on information and belief may be credited when there is enough factual
 6   support surrounding them or relevant facts are uniquely known to the defendants. See,
 7   e.g., Concha v. London, 62 F.3d 1493, 1503 (9th Cir. 1995). But the law after Soo Park
 8   continues to be that a “conclusory allegation based on information and belief remains
 9   insufficient under Iqbal/Twombly.” Menzel v. Scholastic, Inc., No. 17-cv-05499, 2018
10   WL 1400386, at *2 (N.D. Cal. Mar. 19, 2018). Plaintiffs’ information and belief
11   allegations here are wholly conclusory and there are no factual allegations—including the
12   ones made on information and belief—that make the GRA Defendants’ participation in
13   the alleged conspiracy plausible. Id.
14         Soo Park itself is illustrative. There, the Court detailed the numerous factual
15   allegations included in the complaint before finding that it could credit certain
16   information-and-belief allegations. Id. at 916-17. Indeed, the Ninth Circuit found that
17   the “complaint alleged facts that are ‘suggestive’ of an agreement to engage in ‘illegal
18   conduct’” and that “[w]hen the entire factual context is considered, it is clear that Park
19   has ‘nudged [her] claim[ ]’ . . . across the line from conceivable to plausible.” Id. at 928-
20   29 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009)). In permitting the information-
21   and-belief allegations, the court recognized that “many of the relevant facts here are
22   known only to the defendant,” and cited “the additional facts alleged by Park.” Id.
23         Here, the “entire factual context” of the FAC does nothing to nudge Plaintiffs’
24   claims “across the line from conceivable to plausible.” As this Court recognized in its
25   order granting Qatar’s motion to dismiss, “[a]lthough Plaintiffs also named additional
26   defendants, including . . . Global Risk Advisors LLC (“Global Risk”), in their First
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                    GRA DEFENDANTS’ REPLY ISO MOTION TO DISMISS PURSUANT TO RULES 12(b)(1), 12(b)(2),
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 1   Amended Complaint Plaintiffs did not plead any specific facts suggesting that these
 2   defendants were engaged in any unlawful hacking activity.” Dkt. 198 at 2-3 (emphasis
 3   added). In fact, the FAC includes only one allegation in its statement of facts about the
 4   GRA Defendants that is not stated on information and belief, and that allegation—that
 5   GRA has a subsidiary with an office in Qatar (FAC ¶ 95) —does not support the GRA
 6   Defendants’ participation in the alleged conspiracy. Moreover, while Plaintiffs cite
 7   repeatedly to Soo Park’s unremarkable statement that facts “peculiarly within the
 8   possession and control of the defendant” may be alleged on information and belief, 851
 9   F.3d at 928, they failed to allege any basis to believe that the facts surrounding the
10   numerous allegations on information and belief are only known to Defendants. Indeed,
11   Plaintiffs amended their complaint to add the GRA Defendants to the case and were
12   required to have performed a reasonable inquiry before doing so. See Fed. R. Civ. P.
13   11(b).
14            In any event, this is not a case where Plaintiffs are asking the Court to credit one
15   “essential allegation” or even several such allegations on information and belief; they ask
16   the Court to credit the entire factual premise of their claims against the GRA Defendants
17   on information and belief, without ever explaining the basis for the allegations that they
18   have made. This remains untenable and insufficient.
19            B.    Defendants’ “Shotgun” Pleading Is Impermissible
20            Even if the information and belief allegations were credited, the FAC still fails to
21   state a claim because it engages in impermissible shotgun pleading. Plaintiffs attempt to
22   defend (Dkt. 195 at 15) their shotgun pleading by citing one unreported case in which the
23   court did not dismiss a complaint which incorporated by reference each preceding
24   paragraph and alleged every claim against all fourteen defendants. See Almont
25   Ambulatory Surgery Ctr., LLC v. UnitedHealth Grp., Inc., No. CV 14-03053, 2015 WL
26   12777092, at *5-6 (C.D. Cal. Oct. 23, 2015). That case is easily distinguishable. Far
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                      GRA DEFENDANTS’ REPLY ISO MOTION TO DISMISS PURSUANT TO RULES 12(b)(1), 12(b)(2),
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 1   from generally upholding the validity of shotgun pleadings, the court in Almont allowed
 2   the case to proceed only because the complaint contained sufficient factual detail to
 3   overcome its shotgun pleading. Id. at *6. In this case, however, the FAC is devoid of
 4   specific factual allegations that support the incorporation clauses and detail the individual
 5   roles of the GRA Defendants and their culpability for each claim brought against them in
 6   a manner sufficient to put them on notice.
 7          C.    There Is No Plausible Civil Conspiracy Claim
 8          Plaintiffs’ defense of their civil conspiracy claim is no more persuasive. Plaintiffs
 9   point to three conclusory allegations made on information and belief about now-
10   dismissed-Defendant State of Qatar retaining Plaintiffs to “supervise,” id. ¶ 6, and
11   “conduct” or “coordinate” the hacks, id. ¶¶ 7, 96. As stated in the GRA Defendants’
12   motion to dismiss, these allegations are plainly insufficient because they are nothing
13   more than “conclusory allegations of cooperation and an agency relationship between
14   [alleged co-conspirators].” (Dkt. 172-1 at 17) (citing cases). The FAC provides no detail
15   about when and how the GRA Defendants allegedly joined this conspiracy, nor does it
16   allege the existence of an agreement between the alleged co-conspirators. Plaintiffs have
17   thus failed to state a claim for civil conspiracy against the GRA Defendants.
18   III.   Rule 9(b) Applies and the FAC Fails To Allege Fraud With Particularity
19          Plaintiffs concede (Dkt. 195 at 17) that Rule 9(b)’s heightened pleading standard
20   applies to at least some of their claims, but never specify which ones. In fact, Rule 9(b)
21   applies to the entire FAC. Plaintiffs argue (Dkt. 195 at 17) that the “FAC does not ‘rely
22   entirely on’ fraudulent conduct” citing to allegations about data theft and dissemination
23   of stolen documents as examples of non-fraudulent conduct. But Plaintiffs do not cite a
24   single paragraph of the FAC in support, likely because the FAC does not specifically
25   allege that the GRA Defendants engaged in that part of the so-called conspiracy.
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                    GRA DEFENDANTS’ REPLY ISO MOTION TO DISMISS PURSUANT TO RULES 12(b)(1), 12(b)(2),
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 1         Furthermore, the test is not whether each individual allegation describes fraudulent
 2   conduct—if it were, any Plaintiff could simply evade Rule 9(b) by including allegations
 3   of non-fraudulent conduct along with claims of fraud—but whether the FAC alleges a
 4   “unified course of fraudulent conduct.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097,
 5   1104 (9th Cir. 2003). The allegations cited by Plaintiffs all relate to the same course of
 6   conduct at the center of the FAC: Plaintiffs’ contention that the Defendants hacked
 7   Plaintiffs’ email servers by “fraudulently registering online website domains,” in order to
 8   “deceive several persons in the United States into providing their email login
 9   credentials.” FAC ¶ 15. Any alleged data theft and subsequent dissemination of stolen
10   information is thus necessarily premised on fraudulent conduct because it stems from the
11   hack of Plaintiffs’ email servers. As such, the FAC describes a unified course of
12   fraudulent conduct to which Rule 9(b)’s heightened pleading standard applies. See, e.g.,
13   Oracle America, Inc. v. Service Key, LLC, No. C 12-00790 SBA, 2012 WL 6019580, at
14   *6-7 (N.D. Cal. Dec. 3, 2012) (applying Rule 9(b) to claim alleging defendants
15   fraudulently obtained third-party passwords and used them to access defendant’s
16   website); Satmodo LLC v. Whenever Comm’cns, LLC, No. 17-cv-0192, 2017 WL
17   1365839, at *2-3 (S.D. Cal Apr. 14, 2017) (same).
18         Plaintiffs cannot credibly argue that their information and belief arguments satisfy
19   Rule 9(b). While Plaintiffs contend that their information and belief allegations
20   regarding “Defendants” alleged efforts to obtain log-in credentials from the allegedly
21   hacked individuals were “amply particular,” Dkt. 195 at 6, even a cursory review of the
22   argument reveals that they are wrong. The cited allegations merely “lump multiple
23   defendants together,” which Rule 9(b) prohibits. See, e.g., Swartz v. KPMG LLP, 476
24   F.3d 756, 764-765 (9th Cir. 2007). To satisfy Rule 9(b), Plaintiffs were required to
25   “identify the role of each defendant in the fraudulent scheme.” United States v. Scan
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                   GRA DEFENDANTS’ REPLY ISO MOTION TO DISMISS PURSUANT TO RULES 12(b)(1), 12(b)(2),
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 1   Health Plan, No. CV. 09-5013-JFW, 2017 WL 4564722, at *7 (C.D. Cal. Oct. 5, 2017)
 2   (Walter, J.) (emphasis added). Plaintiffs have not come close.
 3   IV.   The Individual Counts Fail to State A Claim
 4         Defendants attempt to argue around their pleading deficiencies by making a variety
 5   of claims that lack merit. As explained in the GRA Defendants’ opening brief (Dkt. 172-
 6   1 at 22-25), and ably argued on reply by the Stonington Defendants (Dkt. 183 at 15),
 7   these claims are legally deficient and should be dismissed.
 8                                              CONCLUSION
 9         As this Court has held, Plaintiffs have not plead “any specific facts suggesting”
10   that the GRA Defendants were engaged in any unlawful hacking activity. Without such
11   allegations, Plaintiffs’ cannot establish the plausibility of the GRA Defendants’ role in
12   the alleged conspiracy. Without any creditable factual allegations, the FAC remains just
13   a conspiracy theory, fails to state a claim, and their attempt to rope the GRA Defendants
14   into this case should be rejected. For the multiple reasons set forth above, this case
15   should go no further. The GRA Defendants should be dismissed, with prejudice.
16   Dated: August 13, 2018                              WILMER CUTLER PICKERING HALE
17                                                           AND DORR LLP

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